Case 2:20-cv-10382-NGE-DRG ECF No. 34, PageID.589 Filed 03/12/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


DEBORAH HOWARD, et al.,

             Plaintiffs,                              Case No. 20-10382

v.                                                    Honorable Nancy G. Edmunds

THE CITY OF DETROIT, et al.,

           Defendants.
_________________________________/

                                     JUDGMENT

     In accordance with the Court’s opinion and order entered this date,

     IT IS ORDERED AND ADJUDGED that Defendants’ motions to dismiss are

GRANTED, and this case is hereby DISMISSED WITHOUT PREJUDICE.

      SO ORDERED.

                                  s/Nancy G. Edmunds
                                  Nancy G. Edmunds
                                  United States District Judge

Dated: March 12, 2021


I hereby certify that a copy of the foregoing document was served upon counsel of
record on March 12, 2021, by electronic and/or ordinary mail.

                                  s/Lisa Bartlett
                                  Case Manager
